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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

IRMA I. DONATO MALAVE                            *
           Plaintiff,
                                                 *
       v.                                              CIVIL ACTION NO. DKC-13-1985
                                                 *
KAREN H. ABRAMS, et al.,
           Defendants                            *
                                              ******

                                             ORDER

       The above-captioned case was filed by counsel on July 9, 2013, together with a Motion

to Proceed in Forma Pauperis. Because she appears indigent, Plaintiff’s Motion (ECF No. 2)

will be granted.

       Plaintiff seeks $18,150 for legal expenses incurred to date as well as unspecified future

litigation costs, and sues five current and former members of Maryland’s state courts who

allegedly denied her due process in connection with state tort litigation arising from a 2009

accident involving a St. Mary’s County public bus. Plaintiff also requests injunctive relief,

namely that this court provide Plaintiff a federal trial on the merits of her tort claim or order the

State court to reconsider her case. ECF No. 1.

       The jurisdiction of the federal courts is limited. Federal jurisdiction is available only

when a "federal question" is presented or the parties are of diverse citizenship and the amount in

controversy exceeds $75,000.00. See U.S. Const. Art. 3 ' 2; 28 U.S.C. '' 1331 & 1332. The

court on its own, at any stage of a proceeding, may raise the question of subject matter

jurisdiction. See Cook v. Georgetown Steel Corp., 770 F.2d 1272, 1274 (4th Cir. 1985). Unless

the case involves specialized issues such as admiralty and patents, a federal district court
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typically will have jurisdiction only if the requirements of 28 U.S.C. ' 1331 (federal question) or

28 U.S.C. ' 1332 (diversity of citizenship) are satisfied.

       In this case, the Complaint is based on tortious conduct, which is governed by state law

and does not present a federal question. While counsel couches the Complaint in terms of denial

of due process, he is reminded that the defense of absolute immunity extends to Aofficials whose

special functions or constitutional status requires complete protection from suit.@ Harlow v.

Fitzgerald, 457 U.S. 800, 807 (1982). Judges, whether presiding at the state or federal level, are

clearly among those officials who are entitled to such immunity. See Stump v. Sparkman, 435

U.S. 349 (1978).     Because it is a benefit to the public at large, Awhose interest it is that the

judges should be at liberty to exercise their functions with independence and without fear of

consequences,@ Pierson v. Ray, 386 U.S. 547, 554 (1967), absolute immunity is necessary so

that judges can perform their functions without harassment or intimidation.               AAlthough

unfairness and injustice to a litigant may result on occasion, <it is a general principle of the

highest importance to the proper administration of justice that a judicial officer, in exercising the

authority vested in him, shall be free to act upon his own convictions, without apprehension of

personal consequences to himself.'@ Mireles v. Waco, 502 U.S. 9, 10 (1991), quoting Bradley v.

Fisher, 13 Wall. 335, 20 L.Ed. 646 (1872). Moreover, the law is well-settled that the doctrine

of judicial immunity is applicable to actions filed under 42 U.S.C. ' 1983. Stump, 435 U.S. at

356.

       In determining whether a particular judge is immune, inquiry must be made into whether

the challenged action was Ajudicial,@ and whether at the time the challenged action was taken, the

judge had subject matter jurisdiction. See Stump, 435 U.S. at 356. Unless it can be shown that a




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judge acted in the Aclear absence of all jurisdiction,@ absolute immunity exists even when the

alleged conduct is erroneous, malicious, or in excess of judicial authority. Id. at 356-57.

       Although the Supreme Court of the United States has held that judicial immunity does

not extend to injunctive relief, Pulliam v. Allen, 466 U.S. 522, 536-543 (1984), Congress

amended § 1983 to provide that “injunctive relief shall not be granted” in an action brought

against “a judicial officer for an act or omission taken in such officer's judicial capacity ... unless

a declaratory decree was violated or declaratory relief was unavailable.” Based on this

amendment, courts have held that § 1983 limits the type of relief available to plaintiffs who sue

judicial officers to declaratory relief. See Bolin v. Story, 225 F.3d 1234, 1242 (11th Cir.2000);

Johnson v. McCuskey, 72 Fed. Appx. 475, 477 (7th Cir. 2003).

       A review of Plaintiff's allegations against the named judges does not compel the

conclusion that the judges acted in clear absence of jurisdiction. Rather, Plaintiff's lawsuit is

exactly the type of action that the Pierson Court recognized as necessitating the doctrine of

judicial immunity. In apparent disagreement with the decisions reached at the state court level,

Plaintiff has turned to this forum to assert allegations of unconstitutional acts against state court

judges. Because judicial immunity precludes Plaintiff's recovery of damages against these

judges or the injunctive relief sought, sua sponte dismissal of Plaintiff's federal question claim is

appropriate.

       To the extent that Plaintiff intends to bring this matter pursuant to diversity of the parties,

her claim fares no better. Title 28 U.S.C. ' 1332 (the diversity statute) provides that "district

courts shall have original jurisdiction of all civil actions where the matter in controversy exceeds

the sum or value of $75,000, exclusive of interest and costs, and is between" parties that reside in

different states. Because all of the parties reside in Maryland, diversity of citizenship cannot be



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the basis for this court's subject matter jurisdiction. In the absence of any basis for subject matter

jurisdiction, the court shall dismiss the Complaint.

       Accordingly, it is this 17th day of July, 2013, by the United States District Court for the

District of Maryland, hereby ORDERED that:

       1. Plaintiff’s Motion to Proceed in Forma Pauperis (ECF No. 3) IS GRANTED;

       2. The Complaint IS DISMISSED;

       3. The Clerk SHALL PROVIDE a copy of this Order to counsel of record; and

       4. The Clerk SHALL CLOSE this case.



                                                       ___________/s/____________________
                                                       DEBORAH K. CHASANOW
                                                       United States District Judge




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